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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

SUEANN SWANEY, on behalf of
plaintiff and the class defined below,

      Plaintiff,

v.                                             CASE NO.: 2:13-cv-00544-JHE

REGIONS BANK,

      Defendant.
                                       /

                   AMENDED COMPLAINT – CLASS ACTION

                               INTRODUCTION

             1.     Plaintiff SueAnn Swaney brings this action to secure redress

from unlawful credit and collection practices engaged in by defendant Regions

Bank. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47

U.S.C. §227 (“TCPA”).

             2.     The TCPA restricts the use of automated equipment to dial

cellular telephones.   The prohibition includes the sending of text messages.

Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) ("a text

message is a 'call' within the meaning of the TCPA.").




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                        VENUE AND JURISDICTION

            3.     This Court has jurisdiction under 28 U.S.C. §§1331 and 1337.

Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740, 751-53 (2012)

            4.     Venue and personal jurisdiction in this District are proper

because Defendant does business within this District.

                                    PARTIES

            5.     Plaintiff SueAnn Swaney is an individual who resides in

Florida.

            6.     Defendant Regions Bank is a corporation with its principal

place of business located at 1900 Fifth Avenue North, Birmingham, AL 35203.

                                     FACTS

            7.     Defendant has been attempting to collect an account from

someone who was previously issued the cellular telephone number presently issued

to plaintiff SueAnn Swaney.

            8.     On or about November 5, 2012, plaintiff obtained a cellular

telephone from Metro PCS.

            9.     That same day, Ms. Swaney began receiving a series of text

messages from Regions Bank placed from telephone number 800-734-4667.

There were more than 20 messages.

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             10.   The following is illustrative of the text messages: “Account

*7940: The ledger balance is $1.59 which is below your requested threshold.

Ledger balances excludes pending transactions.”

             11.   On at least six separate occasions, Ms. Swaney replied to the

text messages informing Regions Bank that she has never done business with

them:

                   a.    November 10, 2012: “I have no idea who u are!”;

                   b.    November 11, 2012: “Please stop texting me”;

                   c.    November 11, 2012: “Do not text me again as I am not

                         the person u want!”;

                   d.    November 12, 2012:       “Go away I am no who u are

                         looking for”;

                   e.    November 13, 2012: “I am not who u r looking 4”;

                   f.    November 14, 2012: ”Stop texting or I am going to call

                         ATTORNEY!”.

             12.   The messages continued.

             13.   The 800-734-4667 number is issued to the “Regions Customer

Service Center.” See http://www.regions.com/Contact.rf.




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             14.    On information and belief, the text messages were sent using

automated equipment, without human intervention.

             15.    Plaintiff did not authorize the automated placement of calls to

her cell phone by defendant.

             16.    Plaintiff did not furnish her cell phone number to Defendant.

             17.    Plaintiff and each class member is entitled to statutory

damages.

             18.    Defendant violated the TCPA even if their actions were only

negligent.

             19.    Defendant should be enjoined from committing similar

violations in the future.

                                COUNT I – TCPA

             20.    Plaintiff incorporates paragraphs 1-19.

             21.    The TCPA, 47 U.S.C. §227, provides:

             § 227. Restrictions on use of telephone equipment

             . . . (b) Restrictions on use of automated telephone equipment.

               (1) Prohibitions. It shall be unlawful for any person within the
             United States, or any person outside the United States if the
             recipient is within the United States–

                       (A) to make any call (other than a call made for
                    emergency purposes or made with the prior express consent
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                   of the called party) using any automatic telephone dialing
                   system or an artificial or prerecorded voice–

                               (iii) to any telephone number assigned to a
                          paging service, cellular telephone service, specialized
                          mobile radio service, or other radio common carrier
                          service, or any service for which the called party is
                          charged for the call; . . .


             22.   The TCPA, 47 U.S.C. §227(b)(3), further provides:

             Private right of action.

             A person or entity may, if otherwise permitted by the laws or
             rules of court of a State, bring in an appropriate court of that
             State–

                   (A) an action based on a violation of this subsection or the
                   regulations prescribed under this subsection to enjoin such
                   violation,

                   (B) an action to recover for actual monetary loss from such
                   a violation, or to receive $500 in damages for each such
                   violation, whichever is greater, or

                   (C) both such actions.

             If the Court finds that the defendant willfully or knowingly
             violated this subsection or the regulations prescribed under this
             subsection, the court may, in its discretion, increase the amount of
             the award to an amount equal to not more than 3 times the
             amount available under the subparagraph (B) of this paragraph.

            23.    Defendant violated the TCPA by placing automated calls to

plaintiff’s cell Phone, as outlined in Paragraphs 1-19.

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                             CLASS ALLEGATIONS

             24.    Pursuant to Fed. R. Civ. P. 23(a) and (b)(3), plaintiff brings this

claim on behalf of a class, consisting of (a) all persons (b) who, on or after March

21, 2009, (c) were sent text messages by Defendant (d) using an Automatic

Telephone Dialing System (e) where Defendant’s records do not show prior

express consent.

             25.    Plaintiff further defines subclass A of class members, consisting

of (a) all persons (b) who, on or after March 21, 2009, (c) were sent text messages

by Defendant (d) using an Automatic Telephone Dialing System (e) where

Defendant’s records do not show that the person provided the number to the

Defendant.

             26.    Plaintiff further defines a subclass B of class members,

consisting of (a) all persons (b) who, on or after March 21, 2009, (c) were sent text

messages by Defendant (d) using an Automatic Telephone Dialing System (e) who

informed Defendant that they were not the person Defendant was attempting to

communicate with.

             27.    The class is so numerous that joinder of all members is

impractical. Plaintiff alleges on information and belief that there are more than 40

members of the class. Regions Bank has 1731 domestic locations in 16 states.

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http://research.fdic.gov/bankfind/      Given the frequency with which cellular

numbers are reassigned, a “customer service center” serving a bank with that many

locations will send text messages to more than 40 cell phones that have been

reassigned.

               28.   There are questions of law and fact common to the class that

predominate over any questions affecting only individual class members. The

predominant common questions include:

                     a.    Whether Defendant engaged in a pattern of using

automated equipment to send text messages to cellular telephones;

                     b.    Whether Defendant thereby violated the TCPA;

                     c.    Whether the appropriate measure of damages is $500 or

                           $1500 per unlawful text message.

               29.   Plaintiff will fairly and adequately protect the interests of the

class. Plaintiff has retained counsel experienced in handling class actions and

claims involving unlawful business practices.        Neither Plaintiff nor Plaintiff's

counsel have any interests which might cause them not to vigorously pursue this

action.

               30.   A class action is an appropriate method for the fair and

efficient adjudication of this controversy.      The interest of class members in

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individually controlling the prosecution of separate claims against Defendant is

small because it is not economically feasible to bring individual actions.

             31.   Several courts have certified class actions under the TCPA.

Telephone call and text message cases include: Meyer v. Portfolio Recovery

Associates, LLC, No. 11-56600, 2012 U.S. App. LEXIS 21136, *7-9 (9th Cir.,

October 12, 2012); Mitchem v Illinois Collection Serv., 271 F.R.D. 617 (N.D.Ill.

2011); Balbarin v. North Star Capital Acquisition, LLC,, 10 C 1846, 2011 U.S.

Dist. LEXIS 686 (N.D. Ill., Jan. 5, 2011), later opinion, 2011 U.S. Dist. LEXIS

5763 (N.D.Ill., Jan. 21, 2011), later opinion, 2011 U.S. Dist. LEXIS 58761 (N.D.

Ill., June 1, 2011); and Lo v. Oxnard European Motors, LLC, 11CV1009 JLS

(MDD), 2012 U.S. Dist. LEXIS 73983 (S.D.Cal., May 29, 2012). Fax cases

include:    Sadowski v. Med1 Online, LLC, 07 C 2973, 2008 U.S. Dist. LEXIS

41766 (N.D.Ill., May 27, 2008); CE Design Ltd. v Cy's Crabhouse North, Inc.,

259 F.R.D. 135 (N.D.Ill. 2009); Targin Sign Sys. v Preferred Chiropractic Ctr.,

Ltd., 679 F. Supp. 2d 894 (N.D.Ill. 2010); Garrett v. Ragle Dental Lab, Inc., 10 C

1315, 2010 U.S. Dist. LEXIS 108339, 2010 WL 4074379 (N.D.Ill., Oct. 12,

2010); Hinman v. M & M Rental Ctr., 545 F.Supp. 2d 802 (N.D.Ill. 2008); Kavu,

Inc. v. Omnipak Corp., 246 F.R.D. 642 (W.D.Wash. 2007); Display South, Inc. v.

Express Computer Supply, Inc., 961 So.2d 451, 455 (La. App. 1st Cir. 2007);

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Display South, Inc. v. Graphics House Sports Promotions, Inc., 992 So. 2d 510

(La. App. 1st Cir. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok. App. 2006);

ESI Ergonomic Solutions, LLC v. United Artists Theatre Circuit, Inc., 203 Ariz.

(App.) 94, 50 P.3d 844 (2002); Core Funding Group, LLC v. Young, 792 N.E.2d

547 (Ind.App. 2003); Critchfield Physical Therapy v. Taranto Group, Inc., 293

Kan. 285; 263 P.3d 767 (2011); and Karen S. Little, L.L.C. v. Drury Inns. Inc.,

306 S.W.3d 577 (Mo. App. 2010).

             32.    Management of this class action is likely to present

significantly fewer difficulties that those presented in many class actions, e.g. for

securities fraud.

                                 JURY DEMAND

             33.    Plaintiff demands trial by jury.

      WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

Plaintiff and the class and against Defendant for:

                          (1)    Statutory damages;

                          (2)    An injunction against further violations;

                          (3)    Costs of suit;

                          (4)    Such other or further relief as the Court deems just

                                 and proper.

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Dated:      June 5, 2015

                                   Respectfully submitted,


                                   s/William Howard
                                   William Peerce Howard, Esquire


                           NOTICE OF ASSIGNMENT

      Please be advised that all rights relating to attorney’s fees have been

assigned to counsel.

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                            CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2015, I filed the foregoing document with the

CM/ECF system which will electronically notify the following counsel of record of

same:


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